                Case 5:18-cr-03409-KG Document 5 Filed 07/27/18 Page 1 of 1
                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW MEXICO
                       BEFORE THE HONORABLE JOEL M. CARSON III

                             CRIMINAL CLERK’S MINUTES at Roswell

CASE NUMBER: 18 MJ 2422         DATE: 7/27/2018            TAPE NUMBER: LCR-ROSWELL

CLERK: RACHEL TUTOR

TYPE OF HEARING: INITIAL PRESENTMENT – MATERIAL WITNESS

DEFENDANT(S):                           ATTORNEY(S):                             Appt’d. Ret’d.
 OSMAR PENA-FLORES                                                                      ☐     ☐

Interpreter: EDITH MONROY
Pretrial Officer present: PATRICK JENNINGS
Court in Session: 3:40 p.m. (5 MINS)

☐     Defendant was given/read a copy of charging document

☐     Agent sworn in OPEN COURT

☒     Court questions Defendant regarding his/her physical and mental conditions, address, DOB,
      education

☐     Court advises defendant(s) of possible penalties

☒     Court advises defendant(s) of all constitutional rights

☐     ORAL Motion for detention Hearing by Government

☐     Court grants Government’s ☐ Defense ☐           oral motion to continue detention hearing

☐     Waiver of preliminary hearing & right to grand jury presentment filed in open court

☐     Defendant(s) in custody

☐     Defendant(s) detained without bond as: Risk of Flight ☐      Danger to Community ☐

☐     Conditions of Release set at:

☒     Other: MATERIAL WITNESS ADVISED OF STATUS; MAT WITS TO BE PLACED AT THE
HALFWAY HOUSE UNDER PRETRIAL SUPERVISION PENDING APPOINTMENT OF A SUITABLE
THIRD PARTY CUSTODIAN.
